                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  DAVID OLIVER,                                )
                                               )
               Petitioner,                     )
                                               )
  v.                                           )     No.:   3:18-CV-33-TAV-HBG
                                               )
  DARREN SETTLES,                              )
                                               )
               Respondent.                     )


                                   JUDGMENT ORDER

        In accordance with the accompanying memorandum opinion, the Clerk is

  DIRECTED seal the docket entry containing the transcript of Petitioner’s post-conviction

  hearing [Doc. 14-14], this pro se prisoner’s petition for a writ of habeas corpus filed

  pursuant to 28 U.S.C. § 2254 is DENIED, and this action is DISMISSED. A certificate

  of appealability SHALL NOT issue.         Because the Court has CERTIFIED in the

  memorandum opinion that any appeal from this order would not be taken in good faith,

  should Petitioner file a notice of appeal, he is DENIED leave to appeal in forma pauperis.

  See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24.

        The Clerk is DIRECTED to close the file.

        ENTER:


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE

   ENTERED AS A JUDGMENT
       s/ John L. Medearis
      CLERK OF COURT



Case 3:18-cv-00033-TAV-HBG Document 31 Filed 11/05/20 Page 1 of 1 PageID #: 1179
